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        State Rep. Chris England, chairman of the Alabama Democratic Party, criticized Alabama's "broken" criminal justice
        system on Sunday.




           By Connor Sheets I csheets@al.com


           State Rep. Chris England, chairrnan of the Alabama Democratic Party, spoke out
           about Alabama's "broken" criminal justice system on Sunday,tweeting that it will take
           "more than new buildings to fix it."

           In a long Twitter thread, England called for Alabama Department of Corrections
           Commissioner Jeff Dunn to be fired, citing reports that 10 men have died in the state's
           prisons this month.

           "Under Dunn, mismanagement lack of transparency, violence, corruption and death
           happen so often that it is has become normalized," England tweeted. "For a system
2 of7
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Alabama Democratic Party chair calls for firing of prisons commis            s://www.al.corn/news/2021/07/alabama-democratic-party-chair...
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                                 Chris England      @RepEngland70 • Jul 25, 2021
                                 Replying to @RepEngland70
                                 Lefs start with the obvious. ADOC Commissioner Jeff Dunn needs to
                                 be fired. 10 men have died in prison THIS MONTH. Well, 10 that we
                                 know about. Not only, is the ADOC poorly managed, they routinely
                                 hide information so it's hard to know what's going on.




                                    At least 10 incarcerated men have died in Alabama prisons this
                                    month
                                    Two deaths this week inside Alabama prisons bring the month's ...
                                       alreportercoM


                                  Chris England
                                  @RepEngland70

                         Under Dunn, mismanagement, lack of transparency,
                         violence, corruption and death happen so often that it is
                         has become normalized. For a system that the DOJ

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           His statements comes as Gov. Kay Ivey, Dunn and other state leaders continue to
           insist that the construction of expensive new correctional facilities is necessary to
           reduce overcrowding, widespread violence against inmates and correctional officers,
           and other longstanding issues in Alabama's prisons.

           The DOC did not immediately respond to a request for comment Sunday.

           "What will it take for us to realize that Alabama's criminal justice system is broken and
           it is going to take more than new buildings to fix it?" England tweeted Sunday
           afternoon."We got federal lawsuits, corruption in [the Alabama Department of
           Corrections], people dying daily in our prisons and a pardons and paroles system that
           doesn't work?'


                                 Chris England
                                 @RepEngland70

                       What will it take for us to realize that Alabama's criminal
                       justice system is broken and it is going to take more than
                       new buildings to fix it? We got federal lawsuits, corruption
                       in ADOC, people dying daily in our prisons and a pardons
                       and paroles system that doesn't work.
                        12:39 PM • Jul 25, 2021      .

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                          Tweet your reply



            The strongly worded statements by one of Alabama's most influential Democratic
            leaders gives voice to criticism by many advocates, lawyers and experts who argue
            that new prisons won't fix endeenic prqblems that have plagued Alabama's state
            prison system for years.

            In April and May, three underwriters backed out of Ivey's proposed plan to have
            private companies build three massive prisons in Alabama and charge the state
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          years alleging that the department has?rovided inadequate mental health treatment
          and medical care, among other shortfalls.

          England also called for the removal of Leigh Gwathney, chair of the Alabama Bureau of
          Pardons and Paroles.


                               Chris England    @RepEngland70 • Jul 25, 2021
                               Replying to @RepEngland70
                             Knowing what we know about our Department of Corrections, do we
                             really want to give Dunn billions of dollars to build and manage new
                             facilities? Any plans for reform of the system have to start with him
                             being relieved of duty. New prisons won't fix a leadership problem.

                            _Chris England _
                            @RepEngland70

                    You know what else new prisons won't fix? Our broken
                    pardons and paroles system. Leigh Gwathney, the chair o
                    the, board, is just as much of a problem as Jeff Dunn is.
                    Unfortunately the only way to relieve her of duty is
                    through impeachment. For this system to work she must
                    go.
                     12:39 PM • Ju( 25, 2021

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                       Tweet your reply




           The bureau, which did not immediately respond to a request for comment Sunday,
        — annoUnc-ed rast month that it WoOld rb,open pardOn and parole hearings to the public
           after halting all hearings for two months beginning in March and holding closed
           hearings through June.

           Advocates and experts have criticized t
                                                 n he bureau for closing the hearings and granting
          the release of fewer people during the pandemic than in previous years, despite the
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